            Case 5:16-cv-00257-OLG Document 54 Filed 04/17/17 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

JARROD STRINGER, et al.,                             §
                                      Plaintiffs,    §
                                                     §
v.                                                   §            C.A. 5:16-cv-00257-OLG
                                                     §
ROLANDO PABLOS, IN HIS OFFICIAL                      §
CAPACITY AS THE TEXAS SECRETARY                      §
OF STATE and STEVEN C. McCRAW, IN                    §
HIS OFFICIAL CAPACITY AS THE                         §
DIRECTOR      OF   THE      TEXAS                    §
DEPARTMENT OF PUBLIC SAFETY,                         §
                        Defendants.                  §

                    PLAINTIFFS’ DESIGNATION OF EXPERT WITNESS

          Plaintiffs, pursuant to Federal Rule of Civil Procedure 26(a)(2) and the Court’s scheduling

order, designate their testifying expert witness as follows:

     I.   RETAINED EXPERT

          Plaintiffs designate Eitan D. Hersh as a retained expert witness. Dr. Hersh’s written report

and current CV have been served on Defendants today, April 17, 2017, along with the other

materials required by Federal Rule of Civil Procedure 26(a)(2)(B). Plaintiffs hereby incorporate the

substance of Dr. Hersh’s written report as if specifically stated herein in support of his testimony,

mental impressions, and opinions concerning the facts at issue in this case. Further, should Dr.

Hersh give a deposition or other testimony in this case, Plaintiffs incorporate said testimony as

supplemental information regarding Dr. Hersh’s opinions and mental impressions and the basis for

them. His information is:

          Eitan D. Hersh
          Assistant Professor
          Department of Political Science
          Yale University
          77 Prospect St., Room C120
          New Haven, CT
          (203) 436-9061
         Case 5:16-cv-00257-OLG Document 54 Filed 04/17/17 Page 2 of 3



Dated: April 17, 2017                      Respectfully submitted,


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                                           ATTORNEYS FOR PLAINTIFFS




                                       2
          Case 5:16-cv-00257-OLG Document 54 Filed 04/17/17 Page 3 of 3



                                 CERTIFICATE OF SERVICE
I hereby certify that on the 17th day of April, 2017, a true and correct copy of the foregoing
Plaintiffs’ Designation of Expert Witness, was served upon counsel of record via email and the Court’s
ECF system.

                                                      /s/ Cassandra Champion




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